 

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 1 of 52

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

 

IN RE: CASE NO. 18-14840-AJC
ROSA FERRARI, CHAPTER 13
Debtor JUDGE CRYSTAL
CAROLYN FERRARI,
Movant, jj 2 -, 238
v. .
§
ROSA FERRARI, '~ `
Respondent.

 

MOTION TO DISMISS CHAPTER 13 CASE

COMES NOW, Carolyn Ferrari, as party in interest and creditor, and moves this court to
dismiss Debtor’s Chapter 13 case for the reasons set forth herein:
Background

l. Debtor filed her voluntary, Chapter 13 petition on April 25, 2018 (the “Petition Date”).

!\)

Section l307(c) of the Bankruptcy Code provides that a court may either dismiss or
convert a case for cause, whichever is in the best interest of creditors “except as provided
in subsection (i) of this section, on request of party in interest or the United States trustee
and after notice and a hearing, the court may convert a case under this chapter to a case

under chapter 7 of this title., or may dismiss a case under this chapter. whichever is in the

 

 

 

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 2 of 52

best interests of creditors and the estate, for cause...." llU.S.C. §1307(c).

Section 1325(a)(3) of the Bankruptcy Code provides that in order for a Chapter 13 plan to
be confirmed, it must be "proposed in good faith and not by any means forbidden by law;"
and that “the action of the debtor in filing the petition was in good faith. U.S.C. §
1325(a)(7).

Movant, individually and on behalf of her three children, debtor’s grandchildren filed a
joint complaint against Debtor` her husband Durval Ferrari and her son Marcelo Ferrari in
the Superior Court of Fulton County, Georgia on January 18, 2017. The case against
debtor was scheduled for jury trial commencing April 30, 2018, and is summarized in the
Consolidated Pretrial Order filed April 12, 2018. (Exhibit A)

. Debtor’s son was found to be in contempt of court on October 26, 2016, and a judgment
was issued for $797,497.88. Movant obtained copies of deeds proving Marcelo Ferrari
owned two properties in Cordoba, Argentina (Exhibit B) and the Superior Court of Fulton
County ordered him to sell these properties to pay a portion of his unpaid support
obligations to Movant (Exhibit C).

Acts that Constitute Bad Faith and Cause

Upon information and belief, Debtor filed her petition on April 25"‘ with the primary intent
to forestall the state court proceedings against her and preempt the trial that was scheduled
to commence on April 30, 2018. Debtor’s role in this case involves fraud, and therefore
should not be subject to any bankruptcy protection, and her petition has delayed the
proceedings against all three parties, causing further losses, expense, and inability for
movant and her children to seek relief. Debtor mischaracterizes the pending fraud and
fraudulent transfer case against her as a “breach of contract” case in her schedules

. Upon information and belief, in her filed schedule of assets, Debtor falsely claimed an

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 3 of 52

ownership interest in the two condominiums her son owns in Cordoba, Argentina in order
to abuse the protection of the stay and the bankruptcy process to obstruct the court-ordered
sale of these properties. Jail recordings obtained by subpoena in the contempt and joint
lawsuit prove debtor’s intent to obstruct the sale and any relief for movant and her children
by any means possible. This material misrepresentation her in schedules was filed shortly
after Movant Was granted a power of attorney to control the sale of the properties by the
Fulton County Superior Court on May 8, 2018. As such, her abuse of the bankruptcy
process has obstructed any ability for Movant to sell the properties and seek relief for years
of unpaid support.

Debtor mischaracterizes the pending fraud and fraudulent transfer case against her as a
“breach of contract” case in her schedules. This case against all three co-defendants was
stayed upon the filing of Debtor’s petition, and the jury trial was rescheduled on the
calendar to be heard in late July subject to dismissal or relief from stay from this court.
Should the case against the other two parties go forward without Debtor, Movant and her
children would suffer further losses and damages

Upon information and belief, Debtor made numerous material misrepresentations and
omissions in her filed schedules, including, but not limited a deliberate inflation of her
monthly mortgage payment, resulting in a dramatic reduction in disposable income
available to pay her creditors. Bank records from 2011 through January 2017 show
consistent mortgage payments of $420 per month during that entire period. Additionally,
public records show that she paid approximately $1100 annually for her property taxes for
years. lt appears that just prior to filing her petition, Debtor refinanced her mortgage to
include property taxes (which she had paid separately in all prior years). However, the

public tax records clearly show that she temporarily gave up her homestead exemption,

 

 

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Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 4 of 52

thereby more than doubling her property taxes to $2744.09, which she paid in December of
2017. ln anticipation of her bankruptcy filing, and just prior to it, Debtor appears to have
refinanced based on this inflated tax payment to falsely inflate her monthly payments from
$420 to $735. According to public tax records of Dade County, Debtor then reinstated her
homestead exemption to reduce her 2017 property taxes back to $1128.40 and obtained a
refund of the overpayment in May of 201 8. This appears to be a deliberate manipulation
and misrepresentation designed to reduce the disposable monthly income available to pay
her creditors by over $300 per month. Coincidentally, Debtor has filed documents stating
her intent to pay this inflated mortgage outside the plan, which would allow her to adjust
this inflated payment down once her plan is confirmed.
Based on bank records, several other discrepancies exist in her schedules of monthly
expenses (i.e., exaggerated monthly power bills, maintenance, clothing and laundry, and
monthly charitable donations), which add up to significantly decrease funds available each
month to pay creditors in her proposed plan and free up funds for her use outside of the
plan. lronically, she claims to spend more money monthly on clothing and laundry than
she claims to own in her inventory. Debtor also does not disclose the car registered to her
son and in her household since October 2017 nor that she pays all expenses for her
unemployed adult son who lives with her, including food, travel, car payments, insurance
while continuing to aid and abet him in avoiding his obligations Additionally, Debtor
specifically states that she does not pay the expenses of anyone else in her schedules
Upon information and belief, Debtor has a history of fraud and filing false statements,
including colluding with her son to file a false $lmillion-dollar claim in his 2011 Chapter
11 bankruptcy. The intent of that claim was for her to be his largest unsecured creditor so

that she would receive payments through his plan and funnel funds back to him. Debtor

 

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 5 of 52

finally withdrew this claim when Movant provided evidence of the fraud and notice of her
intent to disclose it and file an objection to the claim. ln that same case, Debtor also
colluded with her son to hide assets, permitting the undisclosed transfer or funds and use of
her accounts to hide spending throughout his bankruptcy, which was eventually dismissed
The $31,370 debt to husband Durval Ferrari is suspect for its similarity to her false claim in
her son’s case as an insider debt that happens to be the largest unsecured claim.

The million-dollar debt Debtor claimed her son owed her during his bankruptcy has never
been discharged or repaid, and Debtor stated in sworn testimony in the fraudulent transfer
case and in court documents as recent as the Consolidated Pre-trial filed in the Fulton
County Superior court on April 12, 2018, that her son owes her over $400,000. (Exhibit A)
However, no debt owed to her by her son is included anywhere in her schedules in this
case.

Upon infonnation, evidence and belief, the Mercedes vehicle associated with the Dalmer
Trust claim for $19,216.98 belonged to Debtor’s son and was used exclusively by him, but
was leased and registered in Debtor’s name to shield it from seizure for his child support
and other debts This vehicle and the payments related to it are a matter of contention in
the fraudulent transfer lawsuit. The car in question was returned to the lienholder shortly
after Marcelo Ferrari quit working and fled Georgia in early 2016 to live with Debtor. The
Mercedes debt is the result of bad faith conduct by Debtor and her son to lease and register
his car in her name, and as such should not be subject to discharge. Further, Debtor has
specifically indicated her intent to pay this debt outside of her plan.

Upon information and belief, Debtor decided to file her Chapter 13 petition shortly after
the filing of the fraudulent transfer case on January 18, 2017. As such, in anticipation of

her pending bankruptcy filing, Debtor participated in bad-faith pre-petition spending and

 

 

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Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 6 of 52

debt accumulation, opening new department store credit accounts totaling over $4600 since
June of 2017, and taking out a new consumer loan of $11,525.00 (Upgrade, lnc) on
January 29, 2018, less than three months pre-petition. These recent debts are clearly not in
line with her inventory personal items, clothing, and household goods and furnishing in her
inventories, which she valued at $1525. These amounts account for the remainder of
debtor’s unsecured debt and due to the timing, should be subject to presumption of fraud.
Debtor states multiple times in her filed schedules that creditor Carolyn Ferrari “seized”
her Suntrust checking account, a statement that is categorically false. No funds were ever
seized, levied or garnished by Movant, and this is at best, a misrepresentation of a court-
ordered thirty-day temporary protective order on the checking account Debtor used to hide
her son’s assets when the fraudulent transfer case was filed. As such, this false claim that
Movant, a creditor, seized the contents of her account shows deliberate intent to create
legal issues for Movant.

Additional pre-petition bad faith is exhibited in the disclosed tax records, in which she
misrepresented that the rent she collected from one leased Argentine property was from
both properties in order to deduct the expenses for both properties Debtor does not
disclose the current lease (if any) on the Argentine property belonging to her son. The only
existing lease was on the Bolivar property, which expired 12/31/17, and Marcelo Ferrari
was ordered not to renew it or otherwise encumber the properties he had been ordered to
sell. lf Debtor leased either property, she has not disclosed the lease. Debtor also does not
disclose her long-term tax debt, nor does she disclose the payment agreement she testified
she has had with IRS since 2012. Bank records confirm payments ranging between $500
and $900 monthly, totaling well over $30,000 between 2012 and 2016, and continuing

monthly as she testified in her October 2017 deposition.

 

 

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Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 7 of 52

Lack of Value to Creditors

Approximately half of the unsecured debt in this case is a questionable $31,370
unsubstantiated debt to debtor’s husband, Durval Ferrari, an insider.

The contested $l9,268 debt for the expired Mercedes lease was created in bad faith, is a
contested matter in the pending fraudulent transfer case against debtor and her son, and
debtor has declared her intent to pay it outside of any plan, so this creditor would receive
no benefit.

The remaining debt, $11,525 debt to Upgrade, lnc., $543 to Nordstrom, and $3351 to
Synchrony Bank are all new accounts created by Debtor subsequent to the fraud lawsuit
filing in anticipation of her petition. lf debtor’s plan were confirmed, these creditors and
Macy’s would receive a negligible percentage of the $16,208 they are owed, with $108 per

month being divided amongst and Debtor’s husband.

Conclusion
lf this case were permitted to proceed, it will cause considerable and additional losses and
irreparable damages to Movant, and all other creditors
The timing, material misrepresentations and the totality of the circumstances show willful
and deliberate intent to abuse the bankruptcy process prevent the fraudulent transfer case
from proceeding, obstruct the court-ordered sale of her son’s properties and defraud recent
creditors
The debtor’s bad faith conduct prior to and during the filing of this petition and the
misrepresentations false statements and omissions in her schedules demonstrate no intent

to effectuate a valid plan that will benefit any creditor in any way.

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 8 of 52

WHEREFORE, Movant prays that the Court enter an order dismissing this bankruptcy case

for cause, and granting any such and further relief deemed just and proper.

Respectfully submitted this 25th day of June, 2018.

[Si n ure of Movant]

Carolyn Ferrari

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Atlanta, GA
(404) 423-5605
cjhferrari@gmail.com

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Fulton County Superior Court
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Date: 4/9/2018 3146 PM
Cathe|ene Robinson, Clerk

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STATE OF GEORGIA Date; 4/12/2018 11;15 Al\
Cathe|ene Robinson, C|erk
CAROLYN FERRAR|, lndividually; CAROLYN
FERRAR[, as Grantor of the lrrevocable Trust for
Nicolas Alexander Ferrari; CAROLYN
FERRAR[, as Grantor of the irrevocable Trust for
Stef`an Raine Ferrari; CAROLYN FERRARI, as
Grantor of the irrevocable Trust for Tristan
Demonti Ferrari; NlCOLAS ALEXANDER
FERRAR|, by CAROLYN FERRAR[ as next
friend; STEFAN RAINE FERRAR|, by
CAROLYN FERRARI as next friend; and
TRlSTAN DEMONTI FERRARI, by CAROLYN :
FERRAR| as next friend, : ClVIL ACTlON FlLE NO.
' 2017 CV 284963

 

Plaintiffs,
v.

MARCELO FERRAR|; DURVAL FERRAR|,
Individually; DURVAL FERRARl, as Successor
Trustee of the lrrevocable Trust for Nicolas
Alexander Ferrari; DURVAL FERRAR|, as
Successor Trustee of the lrrevocable Trust for
Stet`an Raine Ferrari; DURVAL FERRARI, as
Successor Trustee of the lrrevocable Trust for
Tristan Demonti Ferrari; and ROSA FERRAR|,

/` Def`endants.
/Z//L, QWCONSTIDATED PRE-TRlAL 0RDER

The following constitutes a Pre-Trial Order entered in the above styled case after

 

 

conference with counsel for the parties:

(l) The name, address and phone number of the attorneys who will conduct the trial

 

are as follows:

For the P|aintiffs: G. Roger Land, Esq.
G. Roger Land & Associates
One North Parkway Square, Suite 200
4200 Northside Parkway
Atlanta, Georgia 30327

 

Page l 0fl9

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 10 of 52

404-23 7-2500

Sara Sorenson, Esq.

Sorenson Law, LLC

600 Galleria Parkway, SE, Suite 980
At|anta, GA 30339

404-507-6388

For Defendant Durval Ferrari; Brian M. Deutsch
Benjamin H. Pierman
McCurdy and Candler, LLC
160 Clairemont Ave., Suite 550
Decatur, GA 30030
(404) 214-5858
(678) 89 l -l 824

F or Defendant Rosa Ferrari: Jef`f`rey A. Powell
Powell Law, LLC
6075 Barfield Road, Suite 227
Atlanta1 GA 30328
(678) 273-3970

For Defendant Marcelo Ferrari; Pro Se

(2) The estimated time required for trial is:
a) For the Plaintif`fs: three (3) days
b) F or Defendant Durval Ferrari: two (2) days
c) For Def`endant Rosa Ferrari; two (2) days

d) For Del`endant Marcelo Ferrari;

(3) There are no motions or other matters pending for consideration by the court except

 

as follows: none. The Partios reserve the right to file motions in limine no later than one week

before the beginning of the trial calendar (April 23, 2018).

 

(4) If applicable, the jury will be qualified as to relationship with the following:

Page 2 01`19

 

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 11 of 52

According to Plaintiffs: None of thejurors shall be related by blood or marriage to the parties or

their counsel. or any of the witnesses called by any parties

According to Defendant Durval Ferrari; The parties which includes Nicolas, Stephan, Tristan

Ferrari, Plaintiffs’ counsel. Defendant D. Ferrari’s counsel, and Defendant R. Ferrari’s counsel.

According to Defendant Rosa Ferrari; The parties which includes Nicolas Stephan, Tristan

Ferrari, Plaintiffs’ counsel, Defendant D. Ferrari’s counsel, and Defendant R. Ferrari’s counsel.

According to Defendant Marcelo Ferrari;

(5) (a) Al| discovery has been completed, unless otherwise noted, and the Court will not
consider any further motions to compel discovery except for good cause shown. 'I`he parties,
however, shall be permitted to take depositions of any person(s) for the preservation of
evidence for use at trial.

(b) Un|ess otherwise noted, the names of the parties as shown in the caption to this Order
are correct and complete and there is no question by any party as to the misjoinder or

nonjoinder of any parties

(6) The following is the Plaintiffs’ brief and succinct outline of the case and contentions:
The Plaintiffs in this case are Carolyn Fen‘ari, individually, as grantor of the trusts, and on
behalf of her children as beneficiaries of irrevocable trusts in each of their names, Nicolas

Alexander Fen'ari, Stefan Raine Ferrari, and Tristan Demonti Ferrari,

Page 3 of 19

 

 

 

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 12 of 52

The Defendants in this case are Plaintiff Carolyn Ferrari’s ex-husband, Marcelo Ferrari,
who is the father to the three children; Durval Ferrari, Marcelo Ferrari’s father, individually and
in his capacity as successor trustee of the three irrevocable trusts; and Rosa Ferrari, mother of
Marcelo Ferrari. This Court granted Default .ludgment as to liability against Defendant Marcelo
Ferrari on Plaintiffs’ claims of fraud on March l3, 2018.

During their marriage, Defendant Marcelo Ferrari and PlaintiffCarolyn Ferrari established
irrevocable trusts to benefit each of their children: the lrrevocable Trust for Nicolas Alexander
Ferrari; the lrrevocable Trust for Stefan Raine Ferrari; and the lrrevocable Trust for Tristan
Demonti Ferrari. The Trust Agreements each named Jonathan Braatz (“Braatz") as Trustee, John
Cleveland (“Cleveland") as successor trustee, and provided that if Cleveland failed to qualify or
ceased to serve, then the next successor trustee would be selected by Cleveland. Braatz served as
Trustee of each of the Trusts from the time each Trust was created until his resignation on .lune
l4, 2006. On December ll, 2009, Cleveland allegedly declined the serve as successor trustee and
named Defendant Durval Ferrari as successor trustee,

ln .luly 20|0, funds from the investment account of the lrrevocable Trust of Stefan Raine
Ferrari were used as consideration to enter into real estate installment contracts on two properties
in Elbert County, Georgia (the "Georgia Properties”). The real estate installment contracts were
entered into by Defendant Marcelo Ferrari and later assigned to the lrrevocable Trusts of Nicolas
Alexander Ferrari and Tristan Demonti Ferrari. ln 201 l, the real estate installment contracts were
cancelled and any interest in the Georgia Properties returned to the grantor for nonpayment.

ln August 2010, approximately $50,000 from the three Trusts’ investment accounts was
used to purchase a vacant residential lot in Port St. Joe. Florida (the “Florida Property"). The

Florida Property was conveyed by the seller to only two of the Trusts: the lrrevocable Trust of

Page 4 of 19

 

 

 

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 13 of 52

Nicolas Alexander Ferrari and the lrrevocable Trust of Tristan Demonti Ferrari. Between 20|0
and 20|3, some property tax bills and homeowners’ association assessment bills went unpaid. ln
December 20|3, Defendant Durval Ferrari, as Successor Trustee of the lrrevocable Trust of
Nicolas Alexander Ferrari and the lrrevocable Trust of Tristan Demonti Ferrari, sold the Florida
Property for $30,000, which the Plaintiffs contend was less than fair market value. Fol|owing the
sale of the Florida Property, Defendant Durval Ferrari deposited the sale proceeds (less
reimbursements made to himself for certain taxes and HOA fees that he allegedly paid) into two
Vanguard money market accounts for the lrrevocable Trust of Nicolas Alexander Ferrari and the
lrrevocable Trust of Tristan Demonti Ferrari.

Plaintiffs contend that Defendant Durval Ferrari became successor trustee of the Trusts in
2009. During his time as successor trustee, the Plaintiffs contend that Defendant Durval Ferrari`s
actions (and lack of action) were purposeful and committed with intent to defraud the Plaintiff
Carolyn Ferrari (as grantor of the Trusts) and the Plaintiff Trust Beneficiaries and constitute a
breach of his fiduciary duty.

Defendant Rosa Ferrari permitted Defendant Marcelo Ferrari to access her SunTrust bank
account (ending in 9|6|) to deposit approximately $200,000 between June 20|2 and September
20|6. Funds from the account where used to make payments on vehicles used by Defendant
Marcelo Ferrari, for Defendant Rosa Ferrari’s home mortgage and homeowner’s association fees,
and for a federal tax debt. Plaintiffs contend that had Defendant Marcelo Ferrari intentionally and
fraudulently deposited the funds in Defendant Rosa Ferrari’s account in order to avoid garnishment
of his own bank accounts Plaintiffs further contend that Defendant Rosa Ferrari knew and
participated with Defendant Marcelo in perpetuating this fraud. As a creditor of Defendant

Marcelo Ferrari (pursuant to Court Orders from the divorce awarding her alimony, child support,

Page 5 of 19

 

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 14 of 52

and various other monetary awards), PlaintiffCarolyn Ferrari is entitled to recover from Defendant
Rosa Ferrari as first transferee.

Plaintiffs contend that Defendants Durval Ferrari and Rosa Ferrari’s actions are part of a
broad scheme of fraud perpetrated by the Defendants specifically aimed at depleting assets in the

Trusts and aiding Defendant Marcelo Ferrari in avoiding his financial obligations to the Plaintiffs

(7) (a) The following is Defendant Durval Ferrari’s brief and succinct outline of the case and
contentions:

Plaintiffs allege that John Cleveland, the named Successor Trustee, "appointed” Defendant
D. Ferrari as Successor Trustee after declining to serve in that capacity on December ll, 2009.
However, the Defendant D. Ferrari expects the evidence to show that while he agreed to serve as
Successor Trustee at the request of his son, Co-Defendant Marcelo Ferrari, in 2009, he was not “in
the mindset of acting as the trustee in managing the trust” at that time. Defendant D. Ferrari
agreed to serve as Successor Trustee because his son, Defendant M. Ferrari, was in "very severe
distress, and a family in distress” during the 2009 timeframe.

Defendant D. Ferrari took no overt act evidencing his acceptance of the position of
Successor Trustee until the summer of 201 3. From late 2009 until mid-2013 Defendant D. Ferrari
did not take possession of any Trust(s) assets exercise any powers as Successor Trustee, perform
any Successor Trustee duties, received no account statements regarding Trust(s) assets or
otherwise indicate acceptance of the Successor Trusteeship.

Defendant D. Ferrari actually assumed the role of Successor Trustee in 20|3, after the
divorce proceedings between Plaintiff Carolyn Ferrari and Defendant M. Ferrari were complete,

or almost complete, and after he received notice of the tax lien on the Florida property. Afier

Page 6 of 19

 

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 15 of 52

Defendant D. Ferrari became aware of his status as Successor Trustee, he sold the Florida property
in order to provide funds to the Trusts at issue and in an attempt to comply with the divorce order.

Plaintiffs assert that Defendant D. Fenari’s actions are part of a broader scheme to defraud
Plaintiffs by depleting the Trusts’ assets and aiding Defendant M. Ferrari in avoiding his financial
obligations to Plaintiffs Yet, Plaintiffs have provided no evidence to support this accusation
against Defendant D. Ferrari. lnstead, Defendant D. Ferrari expects the evidence to show that he
was also defrauded by Defendant M. Fen~ari and that Defendant D. Ferrari has little to no
knowledge of Defendant M. Ferrari’s actions, activities or prior whereabouts for several years

germane to this action.

(b) The following is Defendant Rosa Ferrari’s brief and succinct outline of the case and
contentions:

Plaintiffs allege that Rosa Ferrari engaged in a scheme to have Marcello Ferrari’s monies
deposited into her account to avoid his alleged legal support obligations owed to Carolyn Ferrari
as a result of Marcello Fenari’s and Carolyn Ferrari’s divorce and post-divorce proceedings To
the contrary, Rosa Ferrari understood that Marce|lo Fenari’s wages were being garnished pursuant
to law to satisfy his obligations She did not collude with him to avoid his obligations Furthermore,

his funds were not used to unlawfully pay her debts as alleged even though he had an interest in

the Suntrust account in issue.

 

Page 7 of 19

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 16 of 52

no intent to defraud and to the extent that there were transfers there was sufficient

value/consideration given.

Additionally, there is a four-year statute of limitation on the acts alleged by Plaintiff.

(c) The following is Defendant Marcelo Ferrari’s brief and succinct outline of the case and

contentions:

(8) The issues for determination by the jury are as follows:

For Plaintiffs:

a) When Def. Durval became successor trustee of the irrevocable Trusts of Nicolas
Alexander Ferrari, Stefan Raine Ferrari, and Tristan Demonti Ferrari.

b) Whether the actions or inactions of Def. Durval Fenari, as successor trustee, breached
his fiduciary duty.

c) Whether Def. Durval Ferrari, as successor trustee, exercised reasonable care in selling
the Florida Property.

d) Whether Def. Durval Ferrari as successor trustee complied with the terms of the Tmst
Agreements once he became successor trustee.

e) Whether Def. Durval Ferrari should be removed as successor trustee;

f) Whether Def. Durval Ferrari should be denied any compensation for his services as
successor trustee of the Trusts

g) Whether the Trusts should be dissolved and funds turned over to the Trust beneficiary
who has reached majority (Nicolas Alexander Fenari) and Pl. Carolyn Ferrari as
mother and/or legal guardian of the Trust beneficiaries (Stefan Raine and Tristan
Demonti Ferrari)

h) Whether Def. Durval Fenari’s actions and cooperation with Def. Marcelo Ferrari
constituted fraud,

i) Whether Def. Rosa Ferrari acted with intent to hinder, delay and defraud Pl. Carolyn
Ferrari‘s recovery of court awarded alimony, child support and other funds from Def.
Marcelo Fenari by permitting Def. Marcelo Fenari access to her bank account.

j) The amount of damages the Plaintiffs are entitled to recover from Def. Durval Ferrari,

Page 8 of 19

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 17 of 52

 

 

individually, if any.

k) The amount of damages the Plaintiffs are entitled to recover from Def. Durval Ferrari,
as successor trustee, if any.

l) The amount of damages the Plaintiffs are entitled to recover from Def. Rosa Ferrari, if
any.

 

m) The amount of` damages the Plaintiffs are entitled to recover from Def. Marcelo Ferrari.

For Defendant Durval Ferrari:

a) On what date did Defendant D. Ferrari actually become Successor Trustee, i.e. when
did he actually marshall the assets of the Trusts when did he begin controlling the
assets of the Trusts and when did he exercise any of his powers and duties as
Successor Trustee?

b) Whether Defendant D. Ferrari violated his fiduciary duty owed to the beneficiaries of
the Trusts in question after he assumed and began exercising duties and powers as
Successor Trustee?

c) Whether Defendant D. Ferrari’s actions that are alleged to constitute a breach of
fiduciary duty caused any damages to Plaintiffs and if so, what are those damages?

d) Whether Defendant D. Ferrari exercised reasonable diligence in selling the Florida
Property?
For Defendant Rosa Ferrari:

a) Did Marcello Ferrari owe Rosa Ferrari any money before the alleged transfers? lf so,
how much did he owe her?

b) Did Carolyn Ferrari owe Rosa Ferrari any money before the alleged transfers? lf so
how much did she owe her?

c) Was there an intent to defraud Carolyn Ferrari by Rosa Ferrari?

d) Was Marcello Ferrari having his wages garnished to satisfy legal obligations owed to
Plaintiff'?

e) Were there transfers made to the sole account of Rosa Ferrari by Marcello Ferrari?

f) To the extent that there were transfers from Marcello Ferrari to Rosa Ferrari:

 

Page 9 of 19

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 18 of 52

i) Was there consideration or value?
ii) Was there an antecedent debt owed to Rosa Ferrari?
iii) Was there an intent to defraud by Rosa Ferrari?
g) Were Marcello Ferrari’s funds used to pay lRS obligations of Rosa Ferrari?
h) Were Marcello Ferrari’s funds used to pay the mortgage, homeowner’s fees or other

debts of Rosa Ferrari?

For Defendant Marcelo Ferrari:
(9) Specifications of negligence including applicable code sections are as follows: none.

(10) if the case is based on a contract, either oral or written, the terms of the contract are as
follows (or, the contract is attached as an Exhibit to this order):

For Plaintiffs: Contentions against Def. Durval Ferrari as successor trustee, are based in large part

on the Trust Agreements for the lrrevocable Trusts of Nicolas Alexander Ferrari Stefan Raine
Ferrari and Tristan Demonti Ferrari ,attached=iw=ets-B=Emtbtt-A~ @

For Defendant Durval Ferrari: The case is not based on a contract.
For Defendant Rosa Ferrari: The case is not based on a contract

For Defendant Marcelo Ferrari:

(l 1) The types of damages and the applicable measure of those damages are stated as follows:
For Plaintiffs

a) Damages caused by Def. Durval Ferrari’s breach of fiduciary duty including but not
limited to loss or deprecation in trust property plus interest, and amounts that would have
accrued to trust beneficiaries plus interest

b) Damages caused by Def. Durval Ferrari’s actions to defraud the Plaintiffs

Page 10 of 19

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 19 of 52

c) Costs of |itigation, including reasonable attomey’s fee against Def. Durval Ferrari
pursuant to O.C.G.A. § 53-12-302 and/or O.C.G.A. § l3-6~l l.

d) Damages for fraud perpetuated by Defendant Rosa Ferrari to enable Defendant Marcelo
Ferrari to hide his funds from garnishment

e) Damages for fraud perpetrated by Defendant Marcelo Ferrari.

For Defendant Durval Ferrari: Defendant D. Ferrari requests attomeys’ fees and expenses of

litigation in an amount to be proven at trial or at a post trial hearing.

For Defendant Rosa Ferrari: Defendant Rosa Ferrari requests attomeys’ fees and expenses of

litigation in an amount to be proven at trial or at a post trial hearing.

For Defendant Marcelo Ferrari:

(12) This case does not involve divorce.

(13) The following facts are stipulated:

a) During their marriage, Defendant Marcelo Ferrari and Plaintiff Carolyn Ferrari established
irrevocable trusts to benefit each of their children: the lrrevocable Trust for Nicolas
Alexander Ferrari and the irrevocable Trust for Stefan Raine Ferrari were created by trust
agreements on November 10. |998, and the lrrevocable Trust for Tristan Demonti Ferrari
was created by trust agreement on December 6, 2002 (hereinafter, collectively the

“Trusts").

(14) The following is a list of all documentary and physical evidence that will be tendered at

 

the trial by the Parties. Unless otherwise noted, the parties have stipulated as to the
authenticity of the documents listed, and the exhibits listed may be admitted without further

Page ll of 19

 

 

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 20 of 52

proof of authenticity. All exhibits shall be marked by counsel prior to trial so as not to delay

the trial before the trial.

(a) By the Plaintiffs: See Attached Exhibit y 14

The Plaintiffs reserved the right to supplement or amend this list to add any exhibits The

Plaintiffs do not stipulate to the authenticity of any of exhibits unless said exhibits have been

provided to counsel in advance of the trial of this case for review. The Plaintiffs reserve the right

to enlarge or create “blow ups" or digital or video reproduction of any of the exhibits

(b) By Defendant Durval Ferrari:

2.

T he lrrevocable Trust for Stefan Raine Ferrari

The lrrevocable Trust for Tristan Demonti Ferrari

The lrrevocable Trust for Nicolas Alexander Ferrari

Bank statements for each of the Trust accounts

Documents regarding the sale of the Florida Property, including the contract for sale,
comparison analysis and closing documents

Letter of resignation from John Braatz

Letter of resignation from John Cleveland

Emails from and to Defendant D. Ferrari regarding the Florida Property

Final .ludgment and Decree of Divorce, Carolyn Fen'ari v. Marcelo Ferrari, Fu|ton County
Superior Court, June 4, 20|3 (Complaint, Exhibit L)

lO. Pleadings and Orders in post-divorce actions

The Defendant D. Ferrari reserves the right to supplement his list of physical and documentary

evidence until the time of trial. Defendant D. Ferrari does not stipulate to the authenticity of the

Page 12 ofl9

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 21 of 52

"Real Estate opinion letter from Taylor Crews to Carolyn Ferrari, dated May 21, 2013, regarding
the value of the Florida Property" listed in her list of documentary evidence herein nor any

recording listed.

(c) By Defendant Rosa Ferrari:

l. Bank statements and records from Suntrust account ending in 9|6 l;

2. Retirement account statements/summaries for Rosa Ferrari ending at Morgan Stanley
Smith Bamey ending in |8 555.

3. Documents regarding expenses paid by Rosa Ferrari for Marcelo Ferrari and/or Carolyn
Ferrari.

4. Expenses and title related to Rosa Ferrari’s condominium in Florida.

5. Documents regarding Carolyn and Marcelo Ferrari’s former house located at 2758
Habersham Road, At|anta.

6. Divorce pleadings between Carolyn Ferrari and Marcelo Ferrari, along with
enforcement actions regarding same and garnishments against Marcello Ferrari.

7. Exhibits listed by the other parties

8. Documents related to impeachment testimony and rebuttal testimony.

9. Documents produced in discovery by Carolyn Ferrari.

lO. Documents produced in discovery by Durval Ferrari.

l l. Documents produced in discovery by third parties

l2. Exhibits from Carolyn Ferrari’s deposition.

Page 13 of 19

 

 

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 22 of 52

The Defendant .Rosa Ferrari reserves the right to supplement his list of physical and
documentary evidence until the time of trial. She does not agree to the authenticity of the recording

referred to by Plaintiff in her exhibit list.

(d) By Defendant Marcelo Ferrari:

(15) Special authorities relied upon by the Plaintiffs relating to peculiar evidentiary or

other legal questions are as follows: none.

(16) Special authorities relied upon by Defendants relating to peculiar evidentiary or other
legal questions are as follows:

a) For Defendant Durval Fenari: none

b) For Defendant Rosa Ferrari: none.

c) For Defendant Marcelo Fenari:

(17) All requests to charge anticipated at the time of trial will be filed in accordance with

Rule 10.3.

(18) The testimony of the following persons may be introduced by depositions:
a) For Plaintiffs: none. Plaintiff reserves the right to depose witnesses named by the
Defendants in this Pre-trial and as supplemented or amended prior to trial.
b) For Defendant Durval Fenari: Defendant D. Ferrari intends to offer all testimony by in

person witnesses However, Defendant D. Ferrari reserves the right to depose and witness

Page 14 of 19

 

 

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 23 of 52

listed by Plaintiffs Any objection to the depositions or questions or arguments in the

depositions shall be called to the attention of the court prior to trial.

c) For Defendant Rosa Ferrari: Defendant Rosa Ferrari intends to offer all testimony by in

person witnesses but reserves the right to introduce the deposition testimony of Carolyn

Ferrari. Defendant Rosa Ferrari reserves the right to depose and witness listed by Plaintiffs

or Duval Ferrari. Any objection to the depositions or questions or arguments in the

depositions shall be called to the attention of the court prior to trial.

d) For Defendant Marcelo Ferrari:

(19) The following are lists of witnesses the:

(a) Plaintiffs will have present at trial:

l.

Carolyn Ferrari

(b) Plaintiffs may have present at trial:

2.

3.

4.

5.

Alice Benton

.lohn Braatz

Records Custodian for the Fulton County Sheriff’s Ofiice
.leff Stevenson

Taylor Crews

Plaintiffs reserve the right to call any witnesses listed by the other party. Plaintiffs further reserve

the right to identify additional witnesses and will notify opposing counsel prior to trial.

a) Defendant D. Ferrari will have present at trial:

l. Dr. Durval Ferrari, MD

Page 15 of 19

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 24 of 52

b) Defendant D. Ferrari may have present at trial:
l. Rosa Ferrari

2. Carolyn Ferrari
3. Marcelo Ferrari

4. Nicolas Ferrari

 

5. Stefan Ferrari

6. Tristan Ferrari

7. Kimberly Ayers

8. .lon Braatz

9. .lohn Cleveland

lO. .lef’f Stevenson

l l. Rebecca Stone

12. Brenda .lordan

l3. Debbe Wibberg

l4. Sheryl Bradley

15. The designated records custodian for Suntrust Bank, N.A.

Defendant D. Ferrari reserves the right to supplement his list of witnesses up to the time of

trial and will provide counsel with the names of any additional witnesses at the time of their

identification.

a) Defendant Rosa Ferrari wl have present at trial:
l. Rosa Ferrari

b) Defendant Rosa Ferrari may have present at trial:

l . Duval Ferrari

Page 16 of 19

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 25 of 52

2. Carolyn Ferrari

3. Marcelo Ferrari

4. Nicolas Ferrari

5. Stefan Ferrari

6. Tristan Ferrari

7. Kimberly Ayers

8. Jon Braatz

9. John Cleveland

l 0. Jeff Stevenson

l l. Rebecca Stone

12. Records Custodian for Suntrust

l3. Records Custodian for Morgan Stanley Smith Bamey

l4. Jeffrey Stevenson

l5. Brenda Jordan

l6. Debbe Wibberg

l7. Sheryl Bradley

Defendant Rosa Ferrari reserves the right to supplement his list of witnesses up to the time
of trial and will provide counsel with the names of any additional witnesses at the time of

their identification.

a) Defendant Marcelo Ferrari will have present:

b) Defendant Marcelo Ferrari may have present

 

Page 17 of 19

 

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 26 of 52

Opposing counsel may rely on representation by the designated party that he will have a
witness present unless notice to the contrary is given in sufficient time prior to trial to allow the

other party to subpoena the witness or obtain his testimony by other means

(20) The form of all possible verdicts to be considered by the jury are as follows: The parties
will submit an appropriate verdict form at the charge conference or as otherwise directed by

the Court.

(21) (a) The possibilities of settling this case are remote;

(b) The parties want the case reported.

 

(c) The cost of take-down will be shared equally by all parties

Respectfully submitted by the parties this 9th day of April, 20 l 8.

/s/ G. Ro er Land
(wilh express permission by Sara Sorenson)

G. Roger Land, Esq.

Georgia Bar No. 432900

G. Roger l,and & Associates

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404-237-2500

404-365-6560 facsimile

Co-Counsel for Plaintiffs

/s/ Sara C. Sorenson

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Sorenson l,aw, I,LC

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Atlanta, GA 30339
404-507-6388

Co-C ounsel _/br Plaintijfs'

Page 18 of 19

 

 

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 27 of 52

/s/ Brian M. Deutsch

[with exgress p_grmission by Sara Sorenson[
Brian M. Deutsch

Georgia Bar No. 219655

Benjamin H. Pierman

Georgia Bar No. 435180

160 Clairemont Avenue, Suite 550
Decatur, Georgia 30030

Phone: 404-214-5858

C ounsel for Defendant Durval Ferrari

/s/Je e A. Powell

(wilh express permission by Sara Sorensoni
Jeffrey A. Powell

Powell Law. LLC

6075 Barfield Road, Suite 227
Atlanta, GA 30328

(678) 273-3970

Counselfor Defendant Rosa Ferrari

ORDER ON PARTl§_§’ CONSOLIDATED PRETRIAL ORDER

lt is hereby ordered that the foregoing, including the attachments thereto, constitutes the
PRE-TR|AL ORDER in the above case and supersedes the pleadings which may not be further

amended except by order of the court to prevent manifest in`

dv\
This day of , 2018.

 
   

ert . l.
Superior Court of Fulton
Atlanta Judicial Circuit

Page 19of19

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 28 of 52

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Plaintiffs’ List of Evidence

l. The Trust Agreement for lrrevocable Trust for Nicolas Alexander Ferrari (Complaint, Exhibit
A)

2. The Trust Agreement for lrrevocable Trust for Stefan Raine Ferrari (Complaint, Exhibit B)

3. The Trust Agreement for lrrevocable Trust for Tristan Demonti Ferrari (Complaint, Exhibit
C)

4. Resignation letter from Trustee Jonathan Braatz dated June 14, 2006 (Complaint, Exhibit D)
5. Declination Letter from Jonathan Cleveland dated December 1 l, 2009 (Complaint, Exhibit E)

6. Wiring instructions and wire transfers from the lrrevocable Trust of Stefan Raine Ferrari to
purchase the Georgia Properties (Complaint, Exhibit F)

 

7. Real estate installment contracts for the Georgia Properties and Assignment of same to the
lrrevocable Trusts of Nicolas Alexander Ferrari and Tristan Demonti Ferrari (Complaint,
Exhibit G)

8. Contract for purchase, addendums thereto, closing statements and deed for the Florida Property
(Complaint, Exhibit H)

9. Wire transfers from the Trusts to pay for the Florida Property (Complaint, Exhibit l)

10. Quit claim deed transferring Defendant Marcelo Ferrari’s interest in the Georgia Properties
back to the seller (Complaint, Exhibit .l)

l l. Closing documents from sale of the Florida Property by Def. Durval Ferrari, Successor Trustee
(Complaint, Exhibit K)

12. Third Temporary Consent Order, Carolyn Ferrari v. Marcelo Ferrari, Fulton County Superior
Court April 26, 2012

13. Final .ludgment and Decree of Divorce, Carolyn Ferrari v. Marcelo Ferrari, Fulton County
Superior Court, .lune 4, 2013 (Complaint, Exhibit L)

14. Pleadings Orders and transcripts in Carolyn Ferrari v. Marcelo Ferrari, Fulton County Superior
Court divorce and post-divorce actions

15. Real Estate opinion letter from Taylor Crews to Carolyn Ferrari, dated May 21, 201 3, regarding
the value of the Florida Property

Page l of2

 

 

 

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Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 29 of 52

Fiduciary Certification and Trust Account Agreement for the MorganStanley SmithBamey
account for the lrrevocable Trust of Nicolas Alexander Ferrari (Brief in Support of Plaintiffs’
Motion for Summary Judgment, Exhibit G)

Account Application, Client Agreement and Substitute Form W~9 Request for Taxpayer
ldentification Number for the MorganStanley SmithBamey account for the lrrevocable Trust
of Tristan Demonti Ferrari (Brief in Support of Plaintiffs` Motion for Summary .ludgment,
Exhibit H)

“Cape San Blas Lote (sic) Sale Summary," closing documents and Sun'l`rust bank statement
provided by Def. Durval Ferrari to Pl. Carolyn Ferrari on or around December 15, 2016

Sun'l`rust and Vanguard bank statements HOA statements and payments and property tax
statements and payment provided by Def. Durval Ferrari to Pl. Carolyn Ferrari on or around
December 15, 2016

Account activity Vanguard statement for the lrrevocable Trust of Tristan Demonti Ferrari, print
date December 22, 2016

Account activity Vanguard statement for the lrrevocable Trust of Nicholas (sic) Alexander
Ferrari, print date December 22, 2016

Emails from Carolyn Ferrari to Durval Ferrari dated October 10, 201 l and October 24, 201 l
(Deposition of Durval Ferrari, Exhibit 8)

Excel Spreadsheet of bank transfers drafted by Pl. Carolyn Ferrari, emailed to Counsel for the
Defendants on October 27, 2017

Any document produced by Defendant Durval Ferrari in discovery

Any document produced by Defendant Rosa Ferrari in discovery

Any document produced by a third party in discovery

Any recording produced by the Fulton County Sherist office pursuant to subpoena
Any document identified or used as an exhibit in a deposition

Any document listed by Defendant Durval Ferrari

Any document listed by Defendant Rosa Ferrari

lnvoices for Plaintiffs’ attomey`s fees and costs of litigation

Page 2 of2

CaSe 18-14840-AJC DOC 31 Filed 06/27/18 Page 30 Of 52 Fulton County Superior Court
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Cathe|ene Roblnson, C|erk

IN THE SUPERIOR COURT OF FULTON COUNTY

 

STATE OF GEORGIA
CAROLYN FERRARI, lndividually; et al., )
)
Plaintiffs ) CIVIL ACTION FILE NO.
) 2017-CV-284963
v. )
)
MARCELO FERRARI, et al., )
)
Defendants. )

ORDER ON PLAINTIFFS’ REOUE_§T FOR TMPORARY RESTRAINING
ORDER AGAINST DEFENDANT MARCELO FERRARI AND
DEFENDANT ROSA FERRARI AS TO THE SUNTRI_JST 9161 ACCOUNT

On January 31, 2017, a hearing was held on Plaintiffs’ request for a

 

temporary restraining order to be issued against Defendant Marcelo Ferrari and
Defendant Rosa Ferrari. While Plaintiffs requested an ex parte hearing, the Court

instructed Plaintiffs to provide notice to Defendants of the hearing date. Defendant

 

Marcelo Ferrari received notice and attended the hearing. Plaintiffs’ counsel
advised the Court that efforts to serve Defendant Rosa Ferrari have been
unsuccessful and while Plaintiffs believed Defendant Rosa Ferrari was in
communication with Defendant Marcelo Ferrari, Defendant Rosa Ferrari did not

receive notice of the hearing. Defendant Rosa Ferrari was not in attendance

 

The Court may issue a temporary restraining order with or without notice if
“[i]t clearly appears from specific facts shown by affidavit or by the verified
complaint that immediate and irreparable injury, loss or damage will result to the
applicant.” O.C.G.A.§ 9-11-65(b)(1). Upon hearing argument from the Plaintiffs’

attorney and Defendant Marcelo Ferrari, it appearing that immediate and

 

irreparable injury will result to the Plaintiffs if a restraining order is not issued, and

Page - 1 - of 2, 2017-CV-284963

 

 

 

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 31 of 52

it appearing to the Court that a proper case has been made out for a temporary
restraining order, IT IS HEREBY ORDERED ADJUDGED:

(l)That a temporary restraining order is hereby issued against Defendant
Marcelo Ferrari and Defendant Rosa Ferrari restraining them from
spending or transferring any funds into or out of the SunTrust 9161
Account;

(2)That Defendants Marcelo Ferrari and Rosa Ferrari are restrained for a
period of thirty (30) days after entry of this Order;

(3)That Plaintiffs give notice of this Order to Defendant Rosa Ferrari; and

(4)That Plaintiffs give notice to SunTrust to freeze the above-referenced
accounts until further notice of the expiration or judicial order dissolving
this temporary restraining order,

so oRDERED,this _l§iiay of til'&“z; z ,2017.

Presidi Judge Kelly Lee Ellerbe
Fulton County Superior Court

Atlanta J udicial Circuit

Page - 2 - of 2, 2017-CV-284963

" Exhibit cg>s'é leatgeo-»)tnoe basis varies 0€+2(711§) @da'§%fsar@tisal‘°"\

[Translation note: Numerically calendar dates are in USA date format (mm/dd/yyyy).]

 

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”l hereby declare that the legitimate interest stated is correct and that this petition is within the scope provided in Article
31 of Provincial Act 5771."
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Statement of Financia| Position
3 SEARCH ON BEHALF OF

(The search may be requested for only one person, physical or legal entity, per form)
PERSON

(*) Last name: FERRAR|

(*) First names: Marcelo Adrian

Document type and number:17.301.810

(*) Corporate name:

CUlT:

AREA OF SEARCH

(*) Departments:

ALL

 

 

 

 

 

 

 

 

 

 

 

 

(*) Required data
NOTE: The search shall be made from 1981 onwards due to operational reasons and may result in previous data generated by a
Conversion processes Only registry entries from the computer files shall be reported, without the corresponding ownership verification.

 

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[Page 1 of 8]

 

 

 

Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 33 of 52

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Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 34 of 52

 

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Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 35 of 52

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Case 13-14340-A.]C DOC 31 Filed 06/27/13 Page 39 of 52

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"Dec|aro bajo fe de iuramento que el interés legitimo invocado es correcto, \/ que la presente peticién se halla
comprendida en los alcances previstos en el Articu|o 31 de la Ley Provincia| N° 5771."

 

 

z FMoTlvo ne LA soucrruo

 

Estado Patrimonial

 

 

3 BUSQUEDA DE DOM|NIO A NOMBRE DE

(Puede solicitarse la bc’xsqueda de una sola persona, fisica o juridica, por formu|ario)

 

 

PERSONA

 

m Apemd<>; FERRARI
(* )Nombre$_ Marcelo Ad:r°j.an
Tipo y numero de documento: 17 301 0 310

 

(* ) Razén Socia|:
CUlT:

 

LUGAR DE BUSQUEDA

 

(*) Departamentos:

TODO`S

 

 

 

(*) Datos obligatorios

 

NOTA: la bdsqueda se efectuaré a partir de 1981 por razones operativas, pudiendo resultar datos anteriores
generados por procesos de Conversién. Sélo se infonnaré sobre inscripciones registrales del archivo
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t Case 18-14840-A.]C DOC 31 Filed 06/27/18 Page 41 of 52

Re€ish'o General
De 1a

N|’O. UniCO 532547 del ai‘|O 2016
Prwimia de Céxdo\)a

Consulta por.' Apel//'do, Nombre y Nro. Doc.

PUBL|C|DAD DlRECTA: 017872 / 2016 Rep: 32

lnforme de Titularidad de Dominio - Previa Bdsaueda

Versién 1

Registrado por: GARC|A MAR|A LAURA
Verif\cado por; GARC|A MARIA LAURA

La busqueda se realizé conforme a lo estab|ecido por Resolucién Gra|. Nro. 1/2011. Se hace presente que la busqueda de dominic se
efectué hasta e|23/11/2016 pudiendo haberse omitido inscripciones desde el 30/12/2008 por razones operativas.

Va»lor de bUsqueda [ FERRAR/ MARCELO ADRIAN, N° Doc. 17301810] Departamentos [ Toda la Provincia ]

A nombre de: FERRARI MARCELO ADRIAN ()

 

 

 

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Date: 7/27/2017 3:56:07 PM
Cathe|ene Robinson, C\erk

IN THE SUPERIOR COURT OF FULTON COUNTY

FAMLLY LAW DIVISION
STATE OF GEORGIA
CAROLYN H. FERRARl,
Petitioner,
CIVIL AC'I'ION

VS.
FILE NO.: 2011CV202702
MARCELO A. FERRARI,

Respondcnt.

M

The parties to the above-styled matter having been noticed to a status hearing on july 21,
2017 at 9:00 a.m. as to whether the Respondent was ready to purge his contempt, and the Court

having reviewed and considered same;
1.

At the hearing, despite prior testimony under oath that Respondent had no assets in his
name and that he was indigent, Respondent now admits because Petitioner discovered the assets

that Petitioner owns a pension at Ciu'group, Inc. and two condominiums in Cordoba, Argentina.
2.

Respondent admits that he has taken no steps to place the properties he owns in
Cordoba, Argentina on the market for sale, nor taken a loan against his interests, nor done
anything with respect to the properties to help pay the arrearage owed to the Petitioner as of july
21, 2017.

NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED as
follows:
3.
The Court finds that the Respondent has failed to exhaust all of his resources to purge
the contempt. In fact, he did nothing in an effort to purge. Therefore, the Court finds that two

conditions must be met before it will consider a release of Respondent from custody:

-1-|Page

 

 

Case 18-14840-A.]C DOC 31 Filed 06/27/18 Page 49 of 52

4.

The Court ORDERS the Respondent to transfer one hundred percent (100%) of the
funds in his Citigroup, Inc. pension to thc Petitioner by Qualilied Domestic Relations Order
(QDRO). The QDRO shall be prepared by Petitioner and Respondent shall cooperate with
executing and signing the QDRO and all other necessary documents necessary to effectuate the
transfer of the pension to the Petitioner in a timely manner. Respondent shall further sign a letter
to Citigtoup, Inc.’s pension department allowing the pension department and their
representatives to speak with the Petitioner and/ or her attorney(s) regarding the pension and
QDRO. The Court reserves determination as to whether Respondent shall pay the attorney’s fees
for the QDRO preparation.

5.

The Court ORDERS the Respondent to place both condominiums that he owns in
Cordoba, Argentina on the market for sale at fair market value, where they shall remain
continuously on the market until sold. Respondent shall take no loans against the properties or
create any leases for rent upon the properties The listing and sale price on each property shall
not be dropped below the fair market value for each respective property without the express
written consent of the Petitioner to the Respondent through her attorney. Respondent shall
obtain and produce valid documentation and evidence of the current fair market value for both
properties and provide documentation of any pre-existing encumbrance, debt or liens as well as
tax records, and leases to this court and petitioner along with listing agreements for both
properties to the Court and Petitioner. Respondent shall allow Petitioner to have direct
communication with the listing real estate agent(s) for the properties regarding all aspects of the
sales such as any and all listing decisions, agreements, offers, and counter offers. Petitioner has
the right to contact the listing agent(s) and the listing agent may communicate with the Petitioner.
Respondent shall maintain the properties in a marketable condition, shall not encumber,
mortgage, damage or interfere with the marketing or sale until the properties are sold, nor permit
any other party to do so. Respondent shall allow the listing agent(s) to place a “For Sale” sign at
both properties, to place a realtor lock-box at both properties, and to ensure access and ability to
perform any other necessary marketing of the properties The proceeds of the sale of the each

property in Cordoba, Argentina shall be as follows:

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Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 50 of 52

First, payment of any pre-disclosed outstanding pre-existing mortgage or encumbrance
on the property;

Second, payment of customary and necessary expenses related to the sale of the two
properties, including but not limited to broker’s fees, and,

Third, the remainder of the proceeds shall be paid in full to the Petitioner, free and clear
of any claim from the Respondent or any non~party to the Contempt action. Respondent shall
solely be responsible for the payment and satisfaction of liens and taxes owed upon the
properties at sale.

6.
The Court will condone to hold the Respondent’s US passport
7.

The next hearing will be on August 14, at 9:30 a.m. in Courtroom SF and the Court
reserves the right to place additional conditions upon the Respondent at that hearing At the
hearing, Respondent shall show documentation to Petitioner on the current state of the
properties such as: fair market value for sale (with and without the usa£tucts in place); disclosure
of all liens on the properties and any unpaid taxes on the properties, any rental leases on the

properties, and all other liabilities with respect to the properties.

I'I` IS HEREBY ORDERED, ADJUDGED AND DECREED as set out herein above,

this the May of :S\/\-Q¢v\\ . 2017,

WQ~L

THE HoNoRABLE URAL D. GLANvILLE
Fulton County Superior Court

 

Prepared by:

Alice E. Benton

GA Bar No. 40636$

Benton Law LLC

4200 Northside Parkway, NW
Building 1, Suite 200

Atlanta, GA 30327

Counsel for Petitioner

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Case 18-14840-A.]C Doc 31 Filed 06/27/18 Page 51 of 52

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

 

 

IN RE: CASE NO. 18-14840-AJC
ROSA FERRARI, CHAPTER 13
Debtor

CAROLYN FERRARI,

Movant,
v.

ROSA FERRARI,
Respondent.
CERTIFICATE OF SERVICE

 

This is to certify that I have this day served the within and foregoing MOTION TO
DISMISS FOR CAUSE upon all parties to this action listed below and those on the attached
sheets by depositing a true and complete copy of same in the United States mail, with

adequate postage thereon, addressed as follows

Rosa Ferrari Nancy K. Neidich, Trustee Timothy Kingcade, Esq.
408 W. 25"‘ Street #8 P.O. Box 279806 1370 Coral Way
Miami, FL 33140 Mirarnar, FL 33027-9806 Miami, FL 33145

This 26th day of June, 2018.

 

ig ature of Movant]

Carolyn Ferrari

1266 W. Paces Ferry Rd. #311
Atlanta, GA
(404) 423-5605
cjhferrari@grnail.coni

 

 

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Forl: Lauderdale, FL 33329-7871

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forrespondence Dept

’o Box 15298

lilmington, DE 19850-5298

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’0 Box 8030
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ZRS Centralized Bankruptcy Department
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*hiladelphia, ?A 19101-7346

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.3531 E Caley Ave
lnglevood, CO 80111-6505

lRA Associates, Inc
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werdale, NJ 08083-2914

Synchrony Bank

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c/o Valerie Smith

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Norfolk, VA 23541-1021

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St Louis, 10 63179-0034

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Sioux Falls, SD 57117-6241

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Decatur, GA 30030-1450

Florida Department 0f Revenue
5050 w Tenneuee St
Tallahauee, FL 32399-0110

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13650 BRITAGE PARM!
FCRT WORTH TX 76177-5323

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Atto: Bankruptcy Department

Po Box 6555

Englevood, CO 80155-6555

SunTrust Hortqaqe, Inc.
Bankruptcy Department RVW 3034
P0 Box 27767 Richmood, VA 23261

Page 52 of 52
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Sioux Falls, SD 57117-6282

Daimler Trust

c/o BK Servicing, LLC
PO Box 131265

Roseville, 101 55113-0011

Equifax
00 Box 740241
Atlanta, GA 30374-0241

G. Roger Land

Sara C Sorenson

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Roanoke, Tx 76262-0685

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Suite 1204

ltimi, FL 33130-1614

Suntrust Bank
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Richmond, VA 23224-2245

